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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
__________________________________________
UNITED STATES OF AMERICA,                  )
                                           )
                          Plaintiff,       )
v.                                         ) Case No. 1:24-cr-10071-FDS
                                           )
ERIC TABARO NSHIMIYE,                      )
                                           )
                          Defendant.       )
__________________________________________)

       ASSENTED-TO MOTION TO EXTEND DEADLINE TO APPEAL OR FILE
      OBJECTIONS TO THE MAGISTRATE JUDGE’S APRIL 4, 2025 ORDER TO
                             MAY 23, 2025

       Defendant Eric Nshimiye, by and through undersigned counsel, respectfully moves—

pursuant to Fed. R. Crim. P. 59(a) and Rule 2(b) of the Rules for United States Magistrate Judges

in this District—for an Order extending to May 23, 2025 the deadline to file objections to the

Magistrate Judge’s Order of April 4, 2024 (Dkt. 77). As grounds for this request, the defense states:

   1. On April 4, 2024, the Magistrate Judge issued an Order in this matter concerning the

       Defendant’s Motion for Issuance of Letters Rogatory (Dkt. 77).

   2. Pursuant to Fed. R. Crim. P. 59(b)(2) and Rule 2(b), objections must be filed within 14

       days of entry unless the Court specifies otherwise.

   3. The parties are actively exploring whether the government can obtain some or all requested

       foreign records through its own channels, potentially eliminating the need for letters

       rogatory. Those discussions are continuing, and a short extension will facilitate their

       completion, Furthermore, the government’s response to two of the requested letters, if its

       motion for extension is allowed, Dkt. 85, will be due on May 13, 2025.

   4. To allow the parties to finish negotiations—and, if necessary, to enable the defense to

       prepare focused objections after receiving the government’s response—the defense

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       requests that the objection deadline be extended to May 23, 2025 (ten days after the

       government’s anticipated filing).

   5. Counsel for the government assents to this request

       WHEREFORE, the defendant respectfully asks the Court to extend to May 23, 2025 the

deadline for filing objections to the Magistrate Judge’s April 4, 2024 Order (Dkt. 77).


                                             Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and authentic copy of the above and foregoing was filed and
served electronically pursuant to the CM/ECF system on April 28, 2024, on all counsel of record.

                                            /s/ Maksim Nemtsev
                                            Maksim Nemtsev, Mass. Bar No. 690826




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